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JURY TRIAL – Day 17

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: B. Lynn Winmill                        Deputy Clerk: Sunny Trumbull
Case No: 1:18-cr-258                          Reporter: Tammy Hohenleitner
Date: June 23, 2022                           Time: 9:05 – 9:12 a.m.
Place: Boise, ID                                    9:17 – 10:30 a.m.
                                                    10:50 a.m. – 12:15 p.m.
                                                    12:35 – 1:56 p.m.
                                                     2:18 – 3:34 p.m.
                                                     Total time: 5 hours 22 minutes


UNITED STATES OF AMERICA v. BABICHENKO, et al

Counsel for Government: Kate Horwitz, Justin Whatcott, and Christian Nafzger
Counsel for Pavel Babichenko: John DeFranco and Barry Flegenheimer
Counsel for Piotr Babichenko: Paul Riggins and Mike French
Counsel for Timofey Babichenko: Rob Lewis and Brad Calbo
Counsel for Kristina Babichenko: Greg Silvey and Jay Kiiha
Counsel for David Bibikov: Robyn Fyffe and Brian Pugh
Counsel for Anna Iyerusalimets: Melissa Winberg and Nicole Owens
Counsel for Mikhail Iyerusalimets: Ellen Smith and Craig Durham


WITNESSES
     Government:
           1. James Hogg (continued from 6/22/2022)
           2. Jeffery McGuire
           3. Leah Caras

EXHIBITS
     Government: 5605.A, 5605.G, 1005

       Defense: 14214


9:05 – 9:12 a.m.: Outside presence of jury – After discussion with the parties, the Court ruled that
juror #11 is excused. The Government informed the Court of their estimate for when they will be
resting their case.


3:34 p.m. – Jury admonished for the evening recess. The Jury Trial will resume June 24, 2022 at
9:00 a.m. before Judge B. Lynn Winmill.
